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           EXHIBIT 5
    to the Declaration of Lauren Gallo White
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Subject:    Schneider v. YouTube Order MSJ
Date:       Tuesday, May 30, 2023 at 4:00:24 PM Paciﬁc Daylight Time
From:       Dan Coleman
To:         White, Lauren Gallo
AEachments: 20230530_MEMORANDUM_002.pdf

EXT - dan.coleman@modernworkspub.com


Lauren,

I've attached a document scanned from my paper files.

--
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